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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                       :
                                               :
                v.                             :       Case No. 21-cr-99 (PLF)
                                               :
VAUGHN GORDON,                                 :
             Defendant.                        :


                                        JOINT STATUS REPORT

        The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, and the defendant, Vaughn Gordon, respectfully submit this Joint Status

Report in response to the Court’s Minute Order dated February 15, 2022. The parties propose a

status hearing on April 26, 27, or 28, 2022, with time excluded under the Speedy Trial Act in the

interests of justice until that date.

        The parties submit that:

        1.      Defendant-specific discovery has been produced, and the government extended a

plea offer for the defendant’s consideration in June 2021.

        2.      Global discovery pertaining to the events of January 6, 2021, is ongoing. At this

time, a vast amount of information has been made available to the defense, as detailed in multiple

discovery-related memoranda filed in this case.

        3.      The defense requests, with the government’s agreement, additional time to review

the discovery and consider the plea offer extended to the defendant.

        4.      The parties are available for a status hearing on April 26, 27, or 28, 2022.




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       5.      The parties agree that the interests of justice will be served by excluding time and

outweigh the defendant’s and the public’s interest in a speedy trial.



                                                      Respectfully submitted,

                                                      MATTHEW M. GRAVES
                                                      UNITED STATES ATTORNEY

                                              By:     /s/ Mary L. Dohrmann
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